                   Case 4:11-cr-00156-JM                      Document 784         Filed 10/08/15             Page 1 of 2
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                          FILED
                                                                                                                 EAST~~- DISTR1cr c
                                      UNITED STATES DISTRICT COURT                                                        NoisnxicrA~~~SAs
                                                          Eastern District of Arkansas                    J       .     ~~CT 0 8 21115
                                                                                                         B'A~Esw.. ~C~Jl'
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Ca~·                gp/lr'[~r/frK, CLERK
                             v.                                         (For Revocation of Probation or Supervised Release)
               JOSHUA A. HAWLEY

                                                                        CaseNo. 4:11CR00156-19JLH
                                                                        USM No. 26780-009
                                                                         Kim Driggers
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           Special, General, Standard       of the term of supervision.
D   was found in violation of condition(s)            - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                   Violation Ended
1                                 Failure to participate in substance abuse treatment as directed              09/21 /2015
2                                 Unlawful use of a controlled substance                                       09/09/2015
5                                 Failure to notify probation office of change of residence                    09/23/2015


       The defendant is sentenced as provided in pages 2 through __2_ _ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9441

Defendant's Year of Birth:           1983                                        q1-ci?litioo
                                                                         10/08/2015

                                                                                                                ofludwnont


City and State of Defendant's Residence:                                                          Signature of Judge
Benton, Arkansas
                                                                         J. Leon Holmes                                U.S. District Judge
                                                                                                Name and Title of Judge

                                                                         10/08/2015
                                                                                                         Date
                       Case 4:11-cr-00156-JM                      Document 784          Filed 10/08/15     Page 2 of 2
  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment -   Page   -=2- of    2
  DEFENDANT: JOSHUA A. HAWLEY
  CASE NUMBER: 4:11CR00156-19 JLH


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
NINE (9) MONTHS with no term of supervised release to follow




     't/ The court makes the following recommendations to the Bureau of Prisons:
The Court recommends defendant participate in nonresidential substance abuse treatment during incarceration. The Court
further recommends placement in the FCI Forrest City, Arkansas, facility so as to remain near his family.


     't/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D       at    --------- D                  a.m.             D     p.m.    on
         D       as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
         D       as notified by the United States Marshal.
         D       as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                                  By - - - - - ---
                                                                                             DEPUTY  ---
                                                                                                    UNITED   ---
                                                                                                           STATES  -------
                                                                                                                  MARSHAL
